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                 FlQyd Law Firm
                 P.O. B6x396
                 Norman, OK 73070
                                                     TRUST INDENTURE                                   FILED
                                                       CREATING THE                                    MAR 27 2002
                               POTTAWATO~UE        COUNTY PUBLIC SAFETY CENTER TRUSlDKLAHOMA SECRETARY
                                                                                       '-. OFSTATE ..;':

            KNm'j .:l.2.,L HEN BY TE:E:SE PR:C:SZNTS:

                 Th is Trust Inde:::t.IJ.r!l dated as of the  day of                4.fL             aft-      ,
            2002, by Sidney R. C~arkE:, hei~inafter referred to 2S the Trustor,
            and Lar'!:y E. Briggs f John W. Goodson, Randy ~ilbertl Carolyn
            Bassett and Clayton Eads and their respec~ive successors as
            provided herein,  to be known as the Trus tees of t~e Pottawatomie
            Coun~y        Public
                             Safety 2enter Trust,    who shall be and are
            hereinafter referred to as Trustees of said Trust, hereina.fter
            referred t.o as "Trust".             .'

            1i-TITNESSZTH:

                  NOW TEEREFORE in consl.aeration of the payment by the Trustor
            to the Trustees of the sum of One Dollar ($1.00), receipt o f 'which
            is hereby acknowledged, the mutual covenants ;he r e i n set for~h, and
            oth.er valuable cons Lder at.Lons , the said Trust.ees ag::-ee to hold,
            macage, invest, assign, convey and distribu~~ as herein provided,
            aut.horized and direc~ec, such property as Trustor, or others may
            from time to time assign, trans=e~, lease, co~vey, ~ive, bequeath,
            devise or deliver unto this Trust or the Trustees hereof.
                 TO EAVE A..1\lD HOLD such property and the proceeds, rents,
            profits  and ip.creases ~hereon unto said Trus~ees and said
   ~   ..   Trustees' successors and assigns, but nevertheless in trust, for
  o'
            the use and benefit of :?o t t a rtla t omi e County, State of Oklahoma,
            such County being hereby designated and hereinafter referred to as
            "Beneficiary", aE".<i upon t ::1e follor.·;ing trust, terms and conditions
            here stated.

                                                        · ~ ,..t i c l e   I
                                                    C=eation of Trust
                   Th~~nder5igned Trus~or creates                              and est~blish~s a Trust for
            the use 'e rid              be:lefi~
                                  of the Benefi.ciary for -t h e public purposes
            hereinafter set forth, under the oz-ovLs Lona of Title 60, oklahoma
            Statutes 1991, Sections 176 to 180.4, inclusive, as amended and
            supplemented, the Oklahoma Trust Act and other applicable statutes
            and laws of the State of Oklahoma.




                                                                                                              EXHIBIT 1
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                                                                                       Article II

                                                                    Name and Effective Date of ~rust

                        The Trustees of this Trust shall conduct all business and
                   execute or authorize the execution of all instruments in the name
                   of this Trust, which s .ie.Ll, be the "Pottawatornie County Public
                   Safety Center Trust" and otherwise perform the duties and
                   functions required in the execution of this Trust, and hereby
                   authorize the Chair or Vice Chair, secretary or Assistant
                   Secretary of the Trust. to execut.e instruments on behalf of the
                   Trust as directed by duly enacted resolutions of the Trust. This
                   Trust Indenture shall be in full force and effect from and after
                   the date of acceptance of beneficial interest herein by the
                   Benefi.ciary.

                                                                                     Article IIT

                                                                                     Def initions

                        (a)  "Act" shall. mean the Okl.ahoma Public Trust Act, being
                   Title 60, OkLahoma Stat:utes 1991, Sections 176 to 180.4, as
                   amended and supplemented.

                                (b)             "Bonds" or "NCI~es" shall mean respectively the bonds
                   and notes                     of the Trust authorized to be issued under this
                   Indenture .

                         (c) "Beneficiarv" ~hall mean Pottawatomie Cou~tYI State of
                   Oklahoma, acting by and t .:1rough its Boa=d of County Commissioners.

     ",                  (d) "Governmental ;.gency" shall mean the United States of
    ....           America and the State or any department, division,. public
                   corporation, public agency, political subdivision or other public
                   instrumentality of either.

                        (e)  "Lending Institution" shall mean any bank or trust
                   company, Federal National Mortgage Association, mortgage banker,
                   mortgage company, national banking association, savings bank,
                   savings and loan as soc i.at.Lon and any other financial institution
                   or Governmental-Agency or person.

                         (f) :-: "Indenture" shall mean    this   Trust    Indenture
                   establishing the Trust, as'amended and supplemented from time to
                   time.

                        (g)  "Mortgage" shall mean a mortgage, mortgage deed, deed
                   of trust, security agreement- or other instrument creating a lien
                   on a fee interest in real and/or personal property located within
                   tne Beneficiary or a leasehold on such fee interest.



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            . (h) "Mortgage   Lean"  s ha Ll,                mean   .a n   interest     bearing
       ,obligation secured by a Mortgage.

              (i)    "State" shall mean the State of Oklahoma.

              (j) "Trust" sha.l ;  mean the Pottawatomie County Public
        Safety Center Trust cz eat.ed pursuant ,to this Indenture, and the
        Trustees thereof, acting on behalf of and in the name of said
        Trust.

              (k )   "Trustees   II        she.Ll me,c:.n the Trustees of t.he Trust.

             (1)   "By-Laws" shal.l mean any By-La\vs duly adopted by the
        Trust as the s~~e may be amended from time to ti~e.
                                                  Article IV
                                                            .
                                              Purnoses of Trust

              The purposes of this Trust are:
                                      -'
              (1)    To assist the Beneficiary, the State of Oklahoma, its
                     Governmental Agencies, and private entities, agencies
                     and citizens in making the most efficient use of all of
                     their economic resources and powers in accord with the
                     needs and benefit of the Bene~iciary in order to lessen
                     the burdens on government and to stimulate economic
                     growth and development; to promote the economic weLl,
                     being of    the   Beneficiary by    Lmpr ov.i.nq available
                     resources,  increasing meaningf~l job opportunities,
                     promoting entrepreneurism and capital investment, while
                     maintaining the Beneficiary's rural quality of life; to
                     inventory the services, facilities and resources of the
                     er.tire Beneficiary; to promote, stimulate, encourage
                     and f.inance the growth and development of commerce,
                     recreation, education, and industry of the Beneficiary
                     as a whole, all in order to achieve maximum utilization
                     of the Beneficiary's human, economic, recreational,
                     natural resources and tourist attractions; to foster
                     and promote an industrial climate and the payroll of
                     the Beneficiary and to otherwise promote its general
                     economic welfare and prosperity and to finance any and
                     all programs, facilities or resources promoting or
                     intending to promote any of the foregoing and, without
                     restriction, in furtherance of the foregoing general
                     objectives, the: following specific powers or purposes,
                     to-wit:

                     ( a)   To promote and develop any and all public works
                            projects or facilities of any type or description
                            inclUding but not limited to those for water,


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                                                        sewer, sold waste, recycling, recovery, materials
                                                        reduction, communication, power, natural gas or
                                                        other pUbl~c utilities of any type or description.

                                           (b)         To   promote,  develop,   own, lease   and  finap.ce
                                                       projects or facilities relating to correctional
                                                       facilities,. jails, or other facilities relating to
                                                       the admini.stration of justice and any programs
                                                       related teo the foregoing which ;",ill lessen the
                                                       burdens of government.

                                           (c)         To pzomoce , finance and develoo comme rc i.e L and
                                                       industrial projects or facilities and to exercise
                                                       all of the powers, privileges and preroga~lves of
                                                       industrial trusts within this State.

                                           (d)         To promote.. finance and develop a~y other projects
                                                       or facilities which will provide oublic facilities
                                                       and/or aid the Beneficiary tow~ o~ any other level
                                                       of qove rnment; .

                                           (e)         To plan, e s t.ab Li.s h , develop, construct, finance,
                                                       enlarge,     remodel,        acquire,      improve,    make
                                                       alternations, extend, maintain, equip, operate,
                                                       lease, furnish and regulate any facilities related
                                                       to any of the foregoing, and, if desired, to lease
                                                       such   faci.:~itie5    and to ope~a7.e the same          in
                                                       connection therewith, and to co, perform, O\v.l,
                                                       acquire, construct or engage in or finance any
                                                       other enterprise or activity, project or facil ity
                                                       to such ex·tent and in such manner as now is , or may
                                                       be considered ' a proper and lawful function of
                                                       public    trust    enti ties    'f,vi t~in  the  State   of
                                                       Oklahoma.

                               (2 )       To hold, ma.trrcaf,n and administ.er any leasehold riahts
                                          in   and   to   physical   properties - demised   to -'the
                                          Beneficiary and to comply with the te=~s and conditions
                                          of any such lease.

                               (3)         To acquire by Laa s e , purchase, p roduc c Lon , reduction to
                                      -" . possession or otherwise,           and to     plan,   establish,
                                       ." develop, construct, enlarge, improve, extend, maintain,
                                           equip, operate, ' f ur n i s h , provide,    supply, regulate,
                                           hold,   store and      administer any       and all physical
                                          properties     (real,     personal       or    mixed),    rights,
                                           privileges, immunities, benefits and any other thing of
                                           value,   designat:ed    or      needful  for    utilization   in
                                           furnishing, providing or supplying the aforementioned
                                           services,   utilities,      buildings     and   facilities i  to
                                           finance and refinance and to enter into contracts of



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                         purchase,  lease -purchase or other interest in or
                         operation and maintenance of said properties, and
                         revenues thereof, and to comply with the terms and
                         conditions of any such contracts, leases or other
                         contracts made in connection with the acquisition,
                         equipping, maint:enance and d i.spos e.L of any of said
                         property; and t.o relinquish, dispose of, rent or
                         otherwise make provisions for properti~s owned or
                         controlled by t.r11= Trust but. ['40 :;'or:.ser needful for Trust
                         purposes.
                (4)      To acquire, construct,      reconstruct,    extend,  lease,
                         purchase, install, equip, maintain, repair, enlarge,
                         remodel   and   o?erate    any    property,   improvements,
                         buildings and othe~ facili~ies of eve~y nature for use
                         by t~e State of O~:ahorna, th~ Uni~ed States of &~erica,
                         or Pottawatomie County, or for the use of cor9 0rations,
                         non-?rofit   corForations,     individuals,   partnerships,
                         associations or proprietary companies for industrial,
                         recreational and economic development.
                (5 )     To perform on beha Lf of the Beneficiary the functions
                         and powers as autiho r i.z ed by industrial and economic
                         development statutes.
                (6)      To   provide   funds     for    the     cost      of   financing,
                         refinancing,    a.:quirin<; I   cons t rucz i.nq ,    purchasing,
                         equipping, maintaining, leasing, repairing, improving,
                         extending,   enla~ging,     remodeling,     holding,     storing,
                         operating and administering a~y or all aforesaid
  -,
                         property, improvements, buildings, facilities and all
                         properties   (real,    personal or mixed)            needful for
 '"
                         executing and f~lfilling the Trust purposes, as set
                         forth in this i~strument, and all other charges, costs
                         and   expenses   necessarily      incurred      in    connections
                         therewith and i.n so doing, to incur indebtedness,
                         either unsecured or ' secured by all or any part of the
                         Trust Estate and its revenues.
                (7)        To expend all funds coming into the hands of ·the
                           Trustees as revenue or othe1:'T.vise for the payment of any
                       ' ·.'indebtedness incurred by the Trust.ees for' the purposes
                          'specified herein, and in the oavment of the aforesaid
                           costs and expenaes , and in - payment of any other
                           obligation   properly   chargeable     against  the   Trust
                           Estate, and to distribute the residue and remainder of
                           such funds to the Beneficiary.
               (8)       To formulate, deve Lop and adlninister or utilize new,
                         Short-range or l<mg-range programs, plans or activities
                         relating to    the  improvement of    law enforcement,


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                      corrections and related social services I in order to
                      provide assistance, services, facilities and resources
                      for the benefit of the people of the Beneficiary.

             (9 )     To prepare and implement regulatory and administrative
                      measures in support of the activities of the Trust such
                      as by-laTH's, zuLe s and regulations pertaining to the
                      various Trust progr~~s and to establish committees
                      composed of members who mayor may not be Trustees to
                      make studies, =.dminister programs I render reports and
                      for any other pu r pose that the Trustees may from time
                      to time determi~e.

                                           Article V

                                      Dura~ion     of Trust

            This Trust shall have duration for the term of duration of
       the Beneficiary and until such time as its purposes shall have
       been fully fulfilled,   or until it shall be terminated as
       hereinafter provided~

                                          Article VI

                                       '['he Trust Estate

             The     Trus~   Estate shall consist of:

             ( 1)     The funds and property presently in the hands of .the
                      Trustees or to be acquired or constructed by Trustees
                      and dedicated by the Trustor, the Beneficiary and
,..                   others to be used for trust purposes.

             (2)      Any and all fee simple, leasehold rights and any other
                      intere~ts in rE~al property demised to the Trustees by
                      the Beneficiary, and others as authorized and empowered
                      by law.

             (3)           Any and all money, property (real, personal or mixed),
                           rights,   chooses   "in   action,   contracts,  leases,
                           privileges, immunities, licenses, franchises, benefits,
                    ~." .: Mortgages, Mort:gage Loans, . collateral and all other
                      . things of vaLue coming into the hands of the Trustee
                           under the Trust Ihdenture.

             (4)      Cash in the" sum of $1.00 paid to the Trustee, receipt
                      of which is .h e reby acknowledged by the Trustee.




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                                 p.-rticle VII

                                 The Trustees

         (1)    The Trustees of this Trust shall be citizens and
                res idents of ': h e Beneficiary, all of whom will be
                appointed by t ae Board of Country Commissioners of the
                Beneficiary, hereafter called the "Governing Board".
                Trustee Clayton Zads shall serve a one-year term from
                the date of appointment by ~he Governing Board;
                Trustees Randv Gilbe~t and Ca=olyn Bassett shall serve
                two-year terms, from the dat.e of appointment and
                Trustees John W. Goodson anc Larry E. Briggs shall
                serve three-vec:.~ ter.ns from -the date o f appointment.
                The Trustees-stall select the ~erson who shaii serve as
                Chair of the Trus~ees. The Tr~~tees a~d the Beneficiary
                may, from ~ime to time, amend the Indenture pursuant to
                p...rticle x: he:~e1.n, for the purpose of appointing
                additional t rus cees to serve for stated terms of no
                more than ~hree years each.
                          "
         (2 )   The person who shall be the Chair of the Trustees shall
                preside at all mee'Cl.ngs and perform other duties
                designated by nne Trustees and shall serve until a
                successor be du Ly elected anc qualified. The Trustees
                shall designat: the time a~d place of all regular
                meetings. All actions by the Trustees pursuant to the
                provisions of this Trust Inde~ture shall be approved by
                the a.f f i.zmat.Lve vote of at least a majority of the
                Trustees qualified to act as such under the provisions
                of   this Trust Indenture;      provided, if a    greater
",              affirmative pe rcerrtaqe vote i s required by la..v, such
'"              legally requin!d greater affirmative percentage vote
                shall be required for vo~e or. t~at particular matter in
                order .t.hat; the laws of the State of Oklahoma may be
                fullv complied with in all respects. The Trustees shall
                select one of their members who shall serve as the Vice
                Chair, and who shall act in the place of the Chair
                during the Latrce r s absence or incapacity to act and
                                  I

                such person shall serve until the Chair's successor be
                duly elected and qualified.                                    r
                                                            "
                                                           '"


         (3) : The Trustees sh.all elect the pezs cn who shall serve as
               Secretary-Treas:l~er of the T=ustees, and the Trustees
               may . select. one or more Assistant Secretaries of the
               Trustees, all of whom mayor may not be Trustees of the
               Trust. The Sec=etary (and in his absence, an Assistant
               Secretary) sfia.l L keep minutes of all meetings of the
               Trustees and shall maintain complete and accurate
               records of all their financial transactions, all such
               minutes, books and records to be on file in the office


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                           of the Trust. All meetings of the Trustees shall be
                           open to the public, and conducted; in conformity with
                           the provisions    of Oklahoma law related      to  open
                           meetings, and the books, records and minutes of the
                           Trustees shall be considered as public records and
                           available for inspection at all times by any interested
                           party in conformity with applicable provisions of the
                           Oklahoma Open Records Act.

                           The  Trustees   may  select   one   or  more Assistant
                           Treasurers of the Tr:qstees, all of whom mayor may not
                           be Trustees of the Trust.
                  (4)      The Trustees may appoint a Chief Executive Officer
                           (UCEO n ) and/or Executive Direc~or for the Trust Estate,
                           as well as a Management Board which when created, $hail
                           undertake res?onsibilities a s s.Lqned to them from ti:ne
                           to time by the Trustees; and the Trustees may employ
                           such other clerical, professional, legal and technical
                           assistance as may be deemed necessary in the discretion
                           of the Trustees to properly operate the business of the
                           Trust Estate, and may fix their duties, terms of
                           employment and compensation from the Trust Estate. All
                           Trustees shall serve without compensation but shall be
                           reimbursed    for     actual  expenses        incurred   in  the
                           performance of       their   duties    hereunder.      The  said
                           C:::O/General ~1an.3.ger shall admi.ni.s t.e.r the business of
                           t.he Trust Estatl~ as directed from time to time by t.he
                           Trustees.      The CEO/General Manager may not be a
                           Trustee.
                  (S)       ~he Trustees are authorized to contract, in connection
                            trlith the incurring of any funded indebtedness s ecuzed
                            by the Trust Estate and/or its revenues, or any part of
                            either .or both, that in the event of a default in t.he
                            fulfillment of any contract obligation undertaken on
                            behalf of the ~?rust Estate or in the payment of any
                            indebtedness incurred on behalf of the Trust Estate,
                            that a Temporary Trustee or Trustees or Receiver shall
                            be appointed b::l succeed to the rights, powers and
                            duties of the Trustees then in office. Any such
                        - ,contract, if nade, shall set out th~ terms and
                         >, conditions undezr which such Temporary Trustee or
                            Trustees or Receiver shall be appointed, and operate
                            i:he Trust Estat.e and pzov i.de for compensation to be
                            paid, and appointment to be vacated and permanent
                            Trustees     to   be    automatically   reinstated       upon
                            te'rmination of a.Ll. defaults by which thei·r appod.rrtrnent;
                            was authorized.




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           . (6)   Bonds or other evidence of indebt~dness to be issued by
                   the Trustees shall not constitute' an indebtedness of
                   the State or the 3eneficiary or personal obligations of
                   the Trustees   of the Trust,     but shall constitute
                   obligations of the Trustees payable solely from the
                   Trust Estate.

            (7)    The Trustees, the State, and the Beneficiary hereof
                   shall not be charged personally with any liability
                   TN"hatsoever by reason of any act or omission committed
                   or suffered in good. faith or in the exercise of their
                   hop-est d.iscze t i.on in the perfor:nance of such Trust or
                   in the operati.ons of the Trust :::state; but any act or
                   liabili~y    for     any omission or obligation of the
                   Trustees in the execution of such Trust, or in the
                   opera~Lon of      ~he   T~ust E~ta~e,  shall extend to the
                   whole of the Trust Estate ~r so much thereof as may be
                   necessary to discharge such liab~lity or obli~ation.

            (8)    Notwithstandinq any other provision of this Indenture
                   which shalb ap~ear to provide o~herwise, no Trustee or
                   Trustees shall have the power O~ au~hority to bind or
                   obligate any other Trustee, or the Beneficiary, in his
                   or its capac i.t.y , nor can the Beneficiary bind or
                   obligate the Trust or any indivi~ual Trustee.

            (9)    The Trust shal.l cause to be pre;>ared annually at the
                   close or each fiscal year of the Trust, an audit of the
                   funds, financial affairs and transactions of the Trust,
                   including but not limited to all fees, salaries and
                   ex;>enditures in exact amounts and listing to whom "pa i d .
                   such audit is to be certified with an uncualified
                   opinion of an independent, certified public ac~ountant.
                   A copy of such. annual audit s ha I L be filed within the
                   time period and in conformity 1ivith the provisions of
                   Oklahoma laTH' related thereto. Unless hereafter changed
                   by resolution of the Trustees, the fiscal year of the
                   Trust shall be identical with che fiscal year of the
                   Beneficiary. Tt~e cost of the fo:::egoing audits shall be
                   paid from the T=ust Estate.

            ( 10): Every person becoming a Trustee first 'shall take the
                , oath of office required of an elected public officer.
                   The oath of of::ice shall be administered by any person
                   authorized to admi.n i s t e.r oaths in the State r and shall
                   be filed wi-th i:he proper authorities and in the manner
                   prescribed .? y ':~e Act (and/or as otherwise pre!3.cribed
                   by the laws cf the State of Oklahoma). Every non-
                   Trustee of f i.cez: and/or employee who handles funds of
                   the Trust shall. furnish a good and sufficient fidelity
                   bond in an amount and with surety as may be specified


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                                               by law and as specified and approved by the Trustees;
                                               the Trustees may, but shall not be obligated to, obtain
                                               bonds rela~ing to the performance of their duties as
                                               Trustees. Such bonds shall be in a surety company
                                               ~uthorized to transact surety business in the State of
                                               Oklahoma and t:1e cost thereof shall be paid from funds
                                               of the Trust.
                                                                Article VIII

                                                                            Powe!:'s and Duties of the Trustees

                     To accomplish the p~rposes of the Trust, the Trustees shall
                have, in addition to the usual powers .incident to their office and
                the powers granted to them otherwise by law or in other parts of
                this Trust Indentu~e, the following rights, powers, duties,
                authority, discretion a~ci privileges, all ~o be exercised on
                behalf of, and in the name of the Trust:

                                (1)· To sue and be                                                 s~edi

                                (2)            To have a seal and alter same at pleasure;

                                (3)            To make and axecut.e contracts and all other instruments
                                               necessary or convenient for the exercise of its powers
                                               and functions hereunder;

                                (4)            To make and alter by-laws for a t s organization                                     and
                                               internal management as provided herein;

                                (5)            To make and al te~ Rules and Regulations pertaining to
                                               any loan or- o cher program developed by the Trust;
~   ..                          (6)            To acquire I lease l conveyor otherwise hold and.dispose
                                               of real and pecsona L proper ey for: its Trust purposes;
                                               provided that, no purchaser at a!1Y sale or lessee under
                                               a lea~e made by the Trustees shall be bound to inquire
                                               into the exped'::'ency, propriety, validity or necessity
                                               of such sale or lease or to see or be liable for the
                                               application of the purchase or rental monies arising
                                               therefrom;

                                               To enter into contracts for saLe of Bonds I Notes or
                                               other evidences of indebtedness, interim Notes or Bonds
                                               or other obligai:ions of the Trust and to issue the same
                                               for any of the purposes of the ·Trust authorized hereby
                                               including   but   not   limited  to:   the   acquisition,
                                               construction, I"econstruction, eq~iI?P.ing or otherwise
                                               financing facilities discussed in Article IV hereof or
                                               for any other :~awfully permitted facilities which may
                                               be secured with Mortgages, security interests or other
                                               collateral satisfactory to the Trustees; acquiring real


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                   or personal pxoper ty or facilities at foreclosure of
                   any loan or obligation authorized to be acquired
                   pursuant to the terms of this Trust Indenture or other
                   purposes authorized under any instrument securing any
                   indebtedness   of   the  Trust;  refunding   or  advance
                   refunding any outstanding i,ndebt~dness of the Trust;
                   creating any reserves or replacement funds, loan funds
                   or other funds or accounts deemed advisable by the
                   Trus~ees in   furtherance of the Trust purpose or in
                   connection with the securing of any .o f the Trust 's
                   debts or the administration of Trust programs; and for
                   any other purpose authorized by lar..; and/or by Article
                   IV hereof; and for those purposes the Trustees may:

                   (a)   Sell all Bonds, Notes or other evidences of
                         indebtedness or oblig~tions of the Trust at public
                         or private sale in whole or in installments or
                         series an d on such terms and conc i .:c i.ons and in
                         such mannez as is prescribed by law and as the
                         Trustees shall deem to be in the best interest of
                         the T~ust Estate; and

                   (b)   Appoint and compensate attorneys, paying agencies
                         and cozporat.a Trustees in connection with issuance
                         of   any    such   Bonds,   Notes,   evidences   of
                         indebtedness or other obligations of the Trust;
                         and
                   (c)   Pay all experis e s incider..t to the creation of any
                         indebtedness or the issuance of any Bonds or Notes
                         including, but not limited to , printing expenses,
    ..
   :.
                         feasibility studies, special consultants; travel
                         expenses,l:'eproduction expenses; and

                   (d)   ~reate  any reserve fund and other funds and
                         accounts as the Trust shall deem necessary or
                         desirable in connection with the issuance of any
                         Bonds,  Notes or the incurrence of any such
                         indebtedness.
                   Any such indebtedness, Bonds or Notes shall be deemed
                   to be incurred or issued on behalf of the Beneficiary
                   and may be general or special obligations of the Trust
                   as the Trustees may from 't i me to time determine;

             (8)   To purchase or redeem their Bonds, Notes or other
                   e:vidences of indebtedness in whole or in part prior to
                   the stated matLlrl.ty thereof as ' may be stated in any
                   instrument authorizing the issuance or securing the
                   payment of any such indebtedness;



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                 {9)         To pledge any or all of the Trust's revenues or assets
                             to secure the payment of any of its indebtedness;
                                                                   l
                     (10)     To enter into any agreements with or participate in any
                              programs of the Beneficia~y, the State of Oklahoma, or
                            . other States or subdivisions - t he r e o f , or any agency or
                              instrumentality thereof, the ' United States of America,
                              or any agency or instrumentality thereof;

                 (11) To enter into a~d execute, purchase, lease or otherwise
                      acquire pzoper-cy , -r 'ee l , personal or mixed, contracts,
                      leases, rights, privileges, benefits, chooses in action
                      or other things of value and to pay for the same in
                      cash wit:h bonds 0:: other evidences 0= indebtedness or
                      otherwise;

                 (12)       To  fix, demand and collect: c hazqe s , rentals and fees
                            for. the services and £acilities : of t~e Trust and to
                            discontinue furnishing of services and facilities to,
                            and foreclose on any collateral of, any person, firm,
                            coz-pcr a t Lon , o .r public Lns t zumerrta Ldcy , delinquent in
                            the payment of any indebtedness to the Trust; to
                            purchase and se l.l, such supplies, goods and coromodities
                            as are incident to the operation of it5 properties;

                 (13) To make and pe::-form contracts of evezy kind, including
                      man aqement; corrt.z acc s , ,;"ith any  person,   firm,
                           corporation, association, joint venture, trusteeship,
                           municipality, c;:: overnrnent, soveze i.cnt.y or other entity;
                           and without limitation as to amoun t , to dr aw , make,
                           accept, endor se , assume, gua:!:"antee, account, execute
                           and issue promissory notes, ciraf~s, bills of exchange,
                           acceptances, wilrranties, bonds, debentures and other
                           negotiable or non-negotiable instruments, obligations
                           and        e:vidences    of  unsecured    indebtedness,  or  of
                           indebtedness sucuz ad by mortgage, deed of trust or
                           otherwise upon any or all income of the Trust, in the
                           same manner anc to the sarne extent as a natural person
                           might or could do; to collect and receive any property,
                           collateral, mor..ey, rents , or income of any sort and
                           distribute the same or any portion thereof for the
                       - " f u r t h e r a nc e of the aut.hor Laed Trust purposes set out
                       ... herein;

                 (14) To        exercise (t;o the extent permitted by law) or to
                            request of, arrange or contract with th~ Beneficiary or
                            any governmental unit, agency or political subdivision.
                            thereof for the exercise of eminent domain as necessary
                            in    establishing,   operating,   administering,   and
                            maintaining any Trust facilities, systems, projects or
                            programs;



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         (IS) To expend all funds coming into the hands of the
              Trustees as revenue or otherwise for the payment of any
              indebtedness i.ncurred by the Trustees for purposes
              specif ied here :Ln, and in the payment of the aforesaid
              costs and expenses,      and in payment of any other
              obligation   pr opez Ly  chargeable  against  the  Trust
              Estate, to fron time to time transfer any surplus funds
              to the Beneficiary as the T~U5t in its sale discretion
              may determine, and to upon termination of the Trust,
              distribute the residue and r ema i.ndsr of such funds to
              the Beneficiary;      '.

         (16) To con t r ac c for services Tllu:n firms or persons or other
              units and errt Lt.Le s of qove.rnmerrc or private entities or
              agencies to ce.=ry out the purposes of the Trust; to
              apply for, concract; for, -z ece Lve and expend for its
              purposes, fu~d: or grants fro~ any governmental of non-
              governmental aqency or entity, the Beneficiary, other
              States,     the 2ederal Government or any agency or
              department_thereof, or from any other source;
         (17) To   receive       funds,  money,      property,  collateral,
              services, righ~s, and chooses in action from any source
              to finance t~e programs and operations of the Trust; to
              receive qz en t s • gifts, cont.r i.but.Lons and donations to
              carry out the puz pos e s for vihich the Trust is formed;
              to receive and accept from any Federal, State or
              private agencies or en~ities grants or loans for or in
              aid of the construction of. any facility or system and
              to receive and accept aid or contributions of money,
              labor or any o~~er valuable things from any source;
         (18) To plan, coordinate, implement, administer or otherwise
              carry ,out public works or other projects or programs
              for public purposes for the be~efit of the Beneficiary;
         (19) To invest. mor.Le s of the Trust not required for
              immediate use, including proceeds from the sale of any
              Bonds or Notes, in obligations of any Governmental
              Agency or obligations the principal and interest of
              which are guaranteed by such Government~~ Agency or in
              certificates of deposit or time deposits secured in
              such manne= as· the Trust shall determine, or in
              obligations of any agency of the State or the United
              States of Amez~ica which may . from time to time be
              legally purchased by banks -within the State as an
              investment of funds belonging to them or in their
              control;




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..t' J.,L,.c.   .uJ\J.~;   J.J./ J.q / L.UUL.   l' .LJ.,J:!,   l.LfiCJ:   J.l.;.)   c                 rftu~       v;   uu~~   ur   UU L~

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                      (20) To sell any ~ersonal property acquired by the Trust at
                           public or private sale and at such price or prices as
                           it shall detel~inei

                      (21) To renegotiate, refinance or foreclose, or contract for
                           the foreclosu::.-e of, any Hor-tgage, security interest or
                           other obligation in de f au Lt ; to waive any default or
                           con1
                                sent
                                  •• c
                                       ..~o ..~ne
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                           ~-~ortgage j to commence any action to protect or enforce
                           any right conferred upon it by any law, Mortgage,
                           security interest,' corrtr-ac t; or other agreement, and to
                           bid for and purchase such property at any foreclosure
                           or at any other sale, or acquire or take possession of
                           any such property; to operate, manage, rehabilitate,
                           improve, leas~, dispose of, and otherwise deal with
                           such property,. in such manner as may be necessary to
                           protecc the i~terests of ~he Trust and the holders of
                           its Bonds, Notes or other obligations;

                     (22) To renegot~at~ or refinance any loan in default; waive
                          any default or consent to the modification of the terms
                          of any loan, and commence any action or proceedings to
                          protect or enforce any right conferred upon i t by law,
                          loan agreement, contract or other agreement;

                     (23)     To make and e.xe cu t.e corrt.z-ac t s and appoi.n t agents for
                              the edmi.n i s tz'at.Lon or servic ing of any loan made orI


                              acquired by the Trust and pay the reasonable value of
                              services rendered to the Trust pursuant to such
                              contracts;

                     (24) To sell any loans made or acquired by the Trust at
                          public or private sale and at such price or prices and
                          on such terms as the Trust shall determine;

                     (25) To collect and pay reasonable fees and charges in
                          connect':'on with making, comrni.::.ting .t;o make, purchasing
                          or corrmitting to purchase and servicing its Loans,
                          Notes,    Bonds, commitments,    and other evidences of
                          indebtednessi
                                                                                                      ..
                              To procure insurance against any type of loss in such
                              amounts,  and from such insurers, as it may deem
                              necessary or desirable;

                     (27) To consent, whEmever i~ deems it necessary or desirable
                         _. in the .f u l f i l l me n t of its Trust purposes, to the
                            modification 0:: the rate of interest, time of payment;
                            of any instalL"ttent of principal or interest, or any
                            other terms of any loan, construction loan, temporary


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                 loan, contract. or agreement of any kind to which the
                 Trust is a party;

            (28) To do any and all things necessary or convenient to
                 carry out its purposes and exercise the pcwezs given
                 and granted here Ln , and to do all other acts in their
                 judgment neces aazy or de s Lz ab l.e , for the proper and
                 advantageous management, investment and distribution of
                 the Trust. Est.a·:: and income there~rom;

            (29) To exercise exc Lus Lve management.           and   control   of   the
                 properties of i:::e Trust Estate;

            (30) To cont.zact; for the furnishing of any services or the
                 performance of any duties that tney may deem necessary
                 or proper, and pay for the same as they see fit;

            (31) To select depositories for: the funds and securities of
                 this Trust; a Ll, Lending Institutions are eligible to
                 participate in the programs of the Trust and act as
                 such depos i tor i.es T",ith approval of the Trust;

            (32) To compromise any debts or claims of or against the
                 Trust Esta~e, and adjust any dispute in relation to
                 such debts or claims against the Trust Estate upon any
                 evidence deemed by the Trustees to be sufficient. The
                 ~rustees may bz Lnq any suit or action which in t.he i.z
                 judgment is necessary or prope~ to protect the interest
                 of the Trust Estate, or to enforce any claim, demand or
                 contract for the Trust; and they shall defend, in their
                 discretion, any suit against the Trust, or the Trustees
                 or employees, agents or servants thereof; they may
                 compromise and settle any suit or action, and discharge
                 the same out of assets of the Trust Estate, together
                 \vith  court c as t s and attorney s   fees;
                                                           I   all  such
                 expenditures stall be treated as expenses of executing
                 this Trust; and

            (33) To do each and all things necessary to implement the
                  purposes of th~s Trust as set out herein, and to that
                  end Article IV "Purposes of Trust" is incorporated in
                  its entirety under this     "Powezs " Article for the
               .r purpose of   in.5uring that all appropriate power is
                  granted to thE~ .Trustees to accomplish the purposes
                  hereof without inhibition.




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                                                                                Article IX

                                                                   Supe~lisory                        Control

           The Trust created hereby and the Trustees appointed hereunder
      are subject; to such supezvi.s fon and control as may be determined
      from time to time by the Legislature of the State or by
      regulations that may be issued by departments or agencies of the
      United States of Amezi.ca , to insure the legality of all debt
      issued by the Trust and to i~sure the tax exempt st~tus of any tax
      exempt Bonds, Leases, Notes , or other evidences of indebtedness
      issued by the Trus t.
                                    Article X

                                                                   Benef~ciary                        of Trust

                ( 1)           The Beneficiary of this T;r-ust shall be Potrtawatiom.i e
                               Countv, State 0: Oklahoma, 'under and puz suant; to Title
                               60, Oklahoma Sta~utes 1991, Sections 176 to 180.4,
                               inclusive, as amended and supplemented, and o~ner
                               applicable statLtes of the state ptesent ly in force and
                               effect.   .

                (2)            The Beneficiary shall have no legal title, claim or
                               right to t~1.e Trus~ Estate, . its income, or to any part
                               thereof or to demand or require any partition of
                               distribution thereof. Neither shall the Beneficiary
                               have any authori.ty, power or right ,whatsoever, to do or
                               transact any bus Lness for, or on behalf of or binding
                               upon the Trustees or upon the Trust Estate, nor the
                               right to control or dir~ct the actions of the Trustees
                               pertaining to t:he ~rust Estate or any part thereof
                               except as herei.n provided. The Beneficiary shall be
                               entitled solely ~o the benefits of this Trust as
                               administered bv the Trustees hereunder, and at the
                               t.ermi.nat.aon of -t:he Trust, as provided herein, and then
                               only, the Beneficiary shall receive the residue of the
                               Trust Es'tate.

                                                                                Ar't.icle XI

                                                  Adoption and Amendment of By-Lawsi
                                                  Amendment (ind Termination of Trust

           This Trust Indenture may be amended by an affirmative vote of
      at least two-thirds (2/3) of all Trustees and any such proposed
      amendment shall be further approved by the affirming vote of two-
      thirds (2/3) of the Board of Trustees of the Beneficiary before
      becoming effective.




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          The Trustees,    by an affirmative vote of a majority of all
     ~rustees, may adopt, alter and amend By-Laws 'of the Trust.

          PROVIDED,   HOWEVER, t.hat this Trust Indenture shall not be
     subject    to   revocation..   alteration,  amendment,   revision,
     modification or termination in any manner which would be adverse
     to the interest of the ho lders of any evidence of indebtedness of
     the Trust without the consent of holders of indebtedness who would
     be adversely affected, which consent may be given by less than all
     such holders, if so pzov.i ded in any resolution, indenture or
     agreement relating to such indebtedness.

          This Trust shall terminate--

           (1)   When the purposes set out in Article IV              of   this
                 instrument shall have been fully executed; or

           (2)   In the manner provided DV Oklahoma law. Provided,
                 however, that this Trust s-hall riot be terminated by
                 voluntary    act.i.on  while   there   be    outstanding
                 indebtedness or fixed term obligations of the Trustees,
                 unless all- owner s of such indebtedness or obligations
                 shall have consented in writing to such termination.

         Upon the termination of this Trust, the Trustees shall
    proceed to wind UP the af=airs of this Trust, and after payments
    of all debts, expenses and obligations out of the monies and
    properties of the Trust Estate to the extent thereof, shall
    distribute the residue of the money and properties of the Trust
    Estate to the Beneficiary hereunder. Upon final distribution, the
    powers, dutias and authority of the Trustees he~eunder shall
    cease.

                                   Article XII

         The Trustees accept the Trust herein created and provided
    for, and agree to carry- out; the provisions of this Trust Indenture
    on their part to be pez f'ozmed .




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            IN WITNESS WHEREOF, the Trustor and the Trustees                                  have
       hereunto set their hands ~n the day and year ,i nd i c a t e d .




       Si€ ey R. C arke, Trustor



                                                John W. Goodson, Trustee .
                                                       ~.




                                                                  Trustee




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                                     ACKNOWLEDGEMENT


         STATE OF OKLAHOHA
                                       SS
         COUNTY OF POTTAWATOMIE

               On this  Id.-t.h.   of   ~rc.h        r 2002, before me, the
         undersigned, personally ~ppeared Sidney R. Clarke as the Trustor,
         and Larry E. Briggs I John W. Goodson I Randy Gilbert, Carolyn
         Bassett and Clayton Eads, tO ,me known to be the i de n t i c a l persons
         who signed their names as Trtrstees to the wi th in and foregoing
         instrument, and acknowlec.ged to me that they executed the same as
         their free and voluntary act and deed for the uses and purposes
         therein mentioned and set forth.

              GIVEN UNDER MY HAJ.\lD AND SEAL tpe day and ' year         last 'above
         written.




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                                                                           ACCEPTANCE


      STATE   OF OKLAHOMA                                           )
                                                                     )SS
      COUNTY OF POTTAWATOMIE                                         )

      KNOW ALL           ~EN           BY THESE             PK~SENTS:



            That the Board of County Commissioners of Pottawatomie
      County,      Oklahoma,  a ~olitical sub~ivis~6n of the State of
      Oklahoma, hereby accepts the beneficial interest in the Trust
      created by the within and foregoing Trust: Indenture, dated as of
         fehfl.lClI ~     4- r 2002, for and on behalf of said beneficiary
      in all r spects in ac=ordance with the terms of said Trust
      Indenture.                              .

           WITNESS         my   hand   as Chair of the Board of   County
      Commissioners, Potta1iatclmie County, Oklahoma, attested by the
      County Clerk of the Poi:tawatomie County, Oklahoma, puriuant to
      direction of said Board of County Commissioners, this     I    day
      of    J;.Di'Llfrr LI    ,2 002 .
                             ~                                                                   POTTAWATOMIE COUNTY, OKLAHOMA




                                                                                                 Board of

      ATTEST:




                                                                Clerk




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       STATE OF   OKLAHO~~
                                          SS
      'COUNTY OF POTTAWATOMIE

                                         OATH OF OFFICE
            We, the undersigned, do solemnly . swear (or affirm) that we
       will support, obey and defend the Constitution of the United
       States and the Constitution of the State of Oklahoma and that we
       will not, knowingly, rec(!ive, directly or indirectly, any money or
       other valuable thing, for t.he pe r ro.rmance or non-performance of
       any act or duty pertaining- to ou!:' office, other than the
       compensation allowed by Law, We fur che.r swear (or affirm) that we
       will   faithfully  discharge our ducLe s      as Trustees of the
       Pottawatomie County Public Safety Center to the best of our
       ability.

             DATED this      \:>jb.,   day of                         2002.




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STATE;' OF OKLAHOMA
                                                SS
COUNTY OF POTTAWATOMIE

                  AFFIDAVrr OF ADMINISTERING OFFICER

     I, the undersigned Officer r designated under Title 51,
Oklahoma Statutes Anno't at.ed , Section 21,   as authorized to
administer oaths to public officers in the State of Oklahoma,
hereby aver and affirm that I administered' the foregoing Oath of
Office orally to the afores~id Trustees and that said Trustees, in
my presence, and each of them, did orally repeat, take and
subscribe to the foregoing Oath of Office.
     Dated this ' \ d ~            day of                     {'<\orc.h               ,   2002.


                                                                   iJf!lj~
     Subscribed                                                           me   this               day   of
    N\arc...h



                                                                   Notary




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                            ~OTICE   OF FILING


TO:   STATE AUDITOR AND INSPECTOR
      OF THE STATE OF OKLAHOMA



     Pursuant to the reqt:.irements of Title '6 0 Oklahoma Statutes I
1991, . Section 180.2(d), there
                              .   has been filed with the State      ~
Auditor and Inspector of the State of Oklahoma on the ~/ - day
of March, 2002, a copy of the Trust . Inden,ture relating to the
Pottawatornie County Public Safety Center Tr~st.

                             POTTAWATOMIE        COUNTY   PUBLIC     SAFETY
                             CENTER TRUST;



                            E.y :
                                     . Brent Clark, Bond Counsel

ADDRESS OF TRUST:

Pottawatomie County Public Safety Center Trust
c/o Terry West, Authority Counsel
124 West Highland
Shawnee, Oklahoma 74801
